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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA


  EDWARD ERICKSON,                                    CASE NO.:

         Plaintiff,

  v.

  MIAMI-DADE COUNTY, FLORIDA,

        Defendant.
  ___________________________________/

                                           COMPLAINT

         COMES NOW, Plaintiff, EDWARD ERICKSON (“Erickson”), by and through the

  undersigned counsel, and files this Complaint against MIAMI-DADE COUNTY, FLORIDA

  (“County”), alleging as follows:

         1.      This action is brought by Plaintiff Edward Erickson to enforce the provisions of

  the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. § 12101, et seq. (“ADA”).

  Plaintiff Erickson—a longtime first responder and firefighter within the Miami-Dade County

  Fire Rescue Department (the “Department”)—lives with severe Post Traumatic Stress Disorder

  (“PTSD”).

         2.      PTSD is a serious disorder that firefighters may be especially vulnerable to as a

  result of their work on the frontlines of traumatic events. Fire Departments and medical

  professionals around the country have taken great steps to eliminate the stigma associated with

  PTSD. Unfortunately, Defendant Miami-Dade County, by and through the Department and its

  agents, has done the opposite in this case. The Defendant has discriminated and retaliated against

  Erickson because of his PTSD, and for seeking to enforce and protect his rights under the ADA.
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                            JURISDICTION, VENUE, AND PARTIES

         3.      This Court has original jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C.

  §1331 and 42 U.S.C. §§ 2000e-5(f).

         4.      The actions complained of herein occurred within the Southern District of Florida,

  which includes Miami-Dade County, Florida. Venue is proper in this judicial district under 42

  U.S.C. § 2000e-5(f)(3) and 28 U.S.C. § 1391(b) because it is where a substantial part of the

  events or omissions giving rise to the cause of action herein occurred.

         5.      Plaintiff Erickson is a dedicated public servant who has worked within the Miami-

  Dade County Fire Rescue Department since on or around November 13, 1995. Plaintiff is an

  employee as defined by 42 U.S.C. § 12111(4). Plaintiff has been diagnosed with PTSD, which is

  a disability within the meaning of 42 U.S.C. § 12102(1)(A), and is a “qualified individual” under

  42 U.S.C. § 12111(8)

         6.      Defendant Miami-Dade County is a person within the meaning of 42 U.S.C.

  § 12111(7), an employer within the meaning of 42 U.S.C. § 12111(5), and a covered entity

  within the meaning of 42 U.S.C. § 12111(2).

                                   CONDITIONS PRECEDENT

         7.      On or about August 6, 2019, Plaintiff filed a timely charge with the Equal

  Employment Opportunity Commission (“EEOC”) alleging that the County discriminated against

  him on the basis of his disability, PTSD. EEOC Charge No. 510-2019-05664 (“Charge I”) is

  attached hereto as Exhibit 1.

         8.      On or about February 5, 2020, Plaintiff filed a timely charge with the EEOC

  alleging that the County retaliated him against him for the filing of Charge I, and that the County




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  was continuing to discriminate against him on the basis of his disability. EEOC Charge No. 510-

  2020-02472 (“Charge II”) is attached hereto as Exhibit 2.

          9.     On or around February 21, 2020, the EEOC issued Plaintiff a Dismissal and

  Notice of Rights on Charge I and Charge II. Copies of the Right to Sue letters are attached as

  Exhibits 3 and 4.

          10.    Plaintiff files his initial complaint within ninety (90) days of the EEOC’s Right to

  Sue letters.

          11.    All conditions precedent to bringing this action have been performed, excused or

  waived.

                                    FACTUAL BACKGROUND

          12.    Plaintiff has been employed as a firefighter within the County’s Fire Rescue

  Department since on or around November 13, 1995.

          13.    Erickson is a dedicated first responder, both on and off duty. Plaintiff served as an

  emergency responder on the scene of tragedies like the 9/11 terrorist attacks on the World Trade

  Center and the mass shooting at Marjory Stoneman Douglas High School on February 14, 2018.

          14.    During his decades in the Department, Erickson worked his way up the ranks from

  Firefighter to Lieutenant to Captain to to Chief Fire Officer (“CFO”).

          15.    Erickson held the rank of CFO for approximately nine (9) years.

          16.    As a result of trauma Erickson experienced in his career as a firefighter, he was

  diagnosed with PTSD.

          17.    PTSD is a psychiatric disorder that can occur in people who have experienced or

  witnessed a traumatic event. Studies show that repeated exposure to traumatic experiences on the

  job may put firefighters at an increased risk of developing PTSD.




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          18.      Erickson is a person with a disability because he has a physical or mental

  impairment—PTSD—that substantially limits one or more major life activities, including the

  operation of major bodily functions, such as neurological and brain functions, thinking,

  concentrating, and/or sleeping; because he has a record of such impairment; and/or because he

  was regarded as having such impairment.

          19.      Erickson underwent treatment for PTSD.

          20.      Erickson has excelled in his career, even after being diagnosed with PTSD. Erickson

  received numerous commendations and consistently above satisfactory and outstanding evaluations.

  He has also earned multiple certifications.

          21.      Defendant has been aware of Erickson’s PTSD since at least February 2018, and at

  all material times hereto.

          22.      The County has discriminated against Erickson because of his PTSD, including, but

  not limited to, by treating employees without disabilities more favorably than Erickson with respect

  to discipline.

          23.      In or around early 2019, the Defendant engaged in back to back improper

  investigations of Erickson, based on false allegations of misconduct, some of which was from years

  prior. At the time of the investigation, Erickson had an unblemished disciplinary record with the

  County.

          24.      As a result of these sham investigations, the County issued two subsequent

  “Disciplinary Action Reports” (“DARs”) to Erickson.

          25.      The first DAR, dated on or around February 11, 2019, was based on false allegations

  that the Defendant knew or should have known were untrue. The recommended discipline was the




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  severe penalty of demotion. Upon information and belief, even if true, the same or similar

  allegations against employees without disabilities have not resulted in such severe discipline.

         26.     While “investigating” the allegations in the February 11, 2019 DAR, the Defendant

  engaged in a second “investigation” regarding false allegations which it knew or should have known

  were untrue. During the sham investigation, Defendant ignored and failed to obtain evidence that

  supported Erickson.

         27.     As a result of the second investigation, Erickson was recommended for termination

  in a second DAR dated on or around April 23, 2019. Even if the allegations in the second DAR

  were true, which they were not, the County has not terminated employees without disabilities

  accused of the same or similar conduct.

         28.     On or about May 10, 2019, the Defendant presented Erickson with both

  recommended disciplines, and threatened to demote and terminate him. The Defendant coerced

  Erickson to sign an onerous “Last Chance Agreement.”

         29.     Defendant discriminated against Erickson through the Last Chance Agreement.

  Defendant has not subjected non-disabled employees to such onerous and restrictive terms as were

  coerced upon Erickson, and has treated Erickson disparately because of his disability.

         30.     Effective on or around May 13, 2019, Defendant demoted Erickson from CFO to the

  lesser rank of Fire Captain, based on the allegations that Defendant knew or should have known

  were untrue. Upon information and belief, even if true, the same or similar allegations against

  employees without disabilities have not resulted in such severe discipline.

         31.     On or around July 12, 2019, Erickson submitted a proper request for a reasonable

  accommodation to the Department, requesting placement in a 40-hour shift/position that would

  work four ten-hour days because of his PTSD.




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         32.     On or around July 15, 2019, the Department’s bidding process began.

         33.     During the July 2019 bid, Erickson bid for a 40-hour shift/position of EMS Infection

  Control Coordinator (Support Bureau OIC). Erickson was the most senior bidder, and met all

  qualifications for the position, which should have entitled him to the position.

         34.     Erickson would have been, and is, able to perform the functions of the EMS

  Infection Control Coordinator position, with or without reasonable accommodation.

         35.     Defendant discriminated against Erickson because of his PTSD, and awarded the

  EMS Infection Control Coordinator bid position to a less senior, non-disabled employee.

         36.     On or about August 6, 2019, Plaintiff filed EEOC Charge No. 510-2019-05664

  against Defendant for discriminating against him on the basis of Plaintiff’s disability. Exhibit 1.

         37.     After the filing of Charge I, Defendant continued to discriminate against Erickson

  based on his disability and/or retaliated against Erickson for having sought to enforce his rights

  under the ADA.

         38.     Defendant has engaged in repeated illegal conduct with respect to Erickson since

  the filing of Charge I, including, but not limited to, illegally questioning Plaintiff about his

  disability and his treatment, demeaning Plaintiff for having sought treatment for and/or

  accommodation related to his PTSD, threatening Plaintiff, refusing to process Plaintiff’s request

  for reasonable accommodation, refusing to allow Plaintiff to continue working his shift,

  baselessly placing Plaintiff on “restricted duty,” excluding Plaintiff from training and planning

  events that he worked on prior to the filing of Charge I, and/or denying Plaintiff benefits that are

  afforded to non-disabled employees. Plaintiff detailed many of the egregious actions taken by

  Defendant in Charge II. Exhibit 2.




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           39.   Defendant’s actions against Erickson after the filing of his charge are continuing,

  egregious, and pervasive.

           40.   Defendant has mocked and demeaned Erickson for his disability. For example, on

  or around October 2, 2019, Department Division Chief Rowan Taylor illegally questioned

  Plaintiff about his disability, including asking Plaintiff why he could not work at night and

  whether it was because he was “afraid of the dark.”

           41.   Despite Plaintiff submitting a reasonable accommodation request in July 2019 for

  placement in a 40-hour shift/position on a schedule of four ten-hour days per week, Defendant did

  not assign Plaintiff to such a schedule until on or around September 23, 2019, over two months

  later.

           42.   Then, on or around October 7, 2019, Plaintiff was moved to a schedule of five eight-

  hour days pers week, which was contrary to Erickson’s reasonable accommodation request.

  Plaintiff repeatedly requested that the Defendant grant his reasonable accommodation request for

  four ten-hour days, but Defendant failed to do so. Upon information and belief, the County has

  allowed other employees to work ten-hour shifts, and its failure to grant Erickson’s reasonable

  accommodation request was discriminatory and/or retaliatory.

           43.   Despite positions being available for which Plaintiff was qualified, since the filing of

  Charge I Defendant has placed Erickson in positions to demean and embarrass him, and/or to deny

  him benefits that are available to other employees.

           44.   Since the filing of Charge I, Defendant subjected Erickson to disparate and/or

  retaliatory treatment by denying him access to training opportunities available within the

  Department.




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         45.      On or around October 15, 2019, Defendant denied Plaintiff the opportunity to

  attend ultrasound training that was offered to all on-duty EMS Field Supervisors with similar

  assignments as Erickson.

         46.      In or around November 2019, Defendant singled Erickson out by only allowing

  Plaintiff to attend a “Hot Drill” Live Fire training class necessary to maintain his certifications

  off-duty. Defendant did not allow Erickson to adjust or flex his schedule to attend the required

  training on-duty. Upon information and belief, Defendant has allowed all other participants who

  attend the “Hot Drill” training to attend on duty, to adjust or flex their schedule, and/or to be

  compensated with overtime pay.

         47.      Defendant has also excluded Plaintiff from participating in other Department

  activities and events since the filing of Charge I. For example:

               a. Defendant refused to allow Erickson to assist with the “Stop the Bleed” program,

                  which Erickson is an instructor for and presented the original plan for after the

                  tragic Parkland shooting.

               b. In or around October 2019, Defendant refused to allow Plaintiff to participate in

                  EMS training for recruits. After Plaintiff taught one class on October 21, 2019,

                  Defendant, by and through Division Chief Taylor, refused to allow Plaintiff to

                  participate, instead opting to reduce service in EMS operations and to bring in an

                  on-duty EMS Field Supervisor to conduct the training.

               c. Despite Erickson being involved in Superbowl planning in prior years, Defendant

                  excluded Erickson from such planning after the filing of Charge I.

         48.      As further evidence of Defendant’s discrimination and/or retaliation, in 2019

  Plaintiff submitted an outside employment request to the Defendant. Plaintiff had submitted




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  outside employment requests, and Defendant had approved such requests, for at least three years

  prior to the filing of Charge I. After Charge I was filed, Defendant did not approve Plaintiff’s

  2019 outside employment request and instead sent the request to the County Ethics Commission.

  Defendant did not refer outside employment requests of any other employees who worked with

  Plaintiff to the Ethics Commission.

         49.     After the filing of Charge I, Defendant has gone so far as to remove Plaintiff’s

  access to an Emergency Medical Services (“EMS”) storage room, while allowing other non-

  disabled employees access to such access. Defendant’s dangerous, discriminatory, and/or

  retaliatory actions prevent Erickson from accessing necessary emergency supplies and in

  responding to the logistical needs of the EMS Division.

         50.     Rather than assist Plaintiff with his recovery from PTSD, Defendant has

  ostracized and penalized Erickson for his disability, exacerbating his condition.

         51.     Plaintiff has objected to Defendant’s conduct, discrimination, and/or retaliation,

  but the misconduct and illegal treatment of Erickson continues.

         52.     Defendant’s discrimination and/or retaliation against Plaintiff Erickson are

  continuing in nature.

         53.     Defendant’s discriminatory, retaliatory adverse actions have had the intended

  effect of reducing Plaintiff’s income and chilling him from enforcing his rights under the ADA.

         54.     The conduct of Defendant and its agents and employees proximately, directly, and

  foreseeably injured Plaintiff, including, but not limited to, lost wages and benefits, future

  pecuniary losses, emotional pain and suffering, humiliation, inconvenience, mental anguish, loss

  of enjoyment of life, and other non-pecuniary losses.




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          55.     Plaintiff is entitled to recover reasonable attorneys’ fees and litigation expenses

  pursuant to 42 U.S.C. §§ 12117(a) and 2000e-5(k).

                     COUNT I: DISCRIMINATION IN VIOLATION OF
                  TITLE I OF THE AMERICANS WITH DISABILITIES ACT

          Plaintiff reallege paragraphs 1- 55 above.

          56.     Plaintiff Erickson is a member of a protected class and has a disability as defined

   under the ADA. Plaintiff has PTSD, an impairment that substantially limits one or more major

   life activities, has a record of such an impairment, and/or was regarded by Defendant as having

   an impairment. 42 U.S.C. §§ 12102, 12111.

          57.     Defendant has discriminated against Plaintiff in violation of the ADA. 42 U.S.C.

   § 12112.

          58.     Defendant discriminated against Plaintiff on account of his disability by denying

   him the EMS Infection Control Coordinator (Support Bureau OIC) position he bid for in or around

   July 2019, and by denying him other available positions.

          59.     Plaintiff was and is qualified, with or without reasonable accommodation, to

   perform essential functions of the jobs at issue.

          60.     Defendant also discriminated against Plaintiff Erickson by taking adverse actions

   against him because of his disability. Defendant’s egregious and discriminatory actions include,

   but are not limited to, threatening Plaintiff with demotion and termination, coercing Plaintiff to

   sign an onerous Last Chance Agreement, demoting Plaintiff, refusing to grant Plaintiff’s request

   for reasonable accommodation, demeaning Plaintiff, and excluding and/or denying Plaintiff from

   benefits and activities available to non-disabled employees.




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         61.     As a result of Defendant’s unlawful disability discrimination, Plaintiff has

   suffered significant monetary loss, including loss of earnings and other benefits, and has

   suffered nonpecuniary losses, including, but not limited to, severe emotional pain and suffering.

         62.     Plaintiff has no plain, adequate or complete remedy at law for Defendant’s

   actions, which have caused, and continue to cause, Plaintiff irreparable harm.

               COUNT II: RETALIATION IN VIOLATION OF 42 U.S.C. § 12203

         Plaintiff reallege paragraphs 1- 21, and 36-62 above.

         63.     By filing an EEOC charge on or around August 6, 2019, Plaintiff Erickson was

   engaged in an activity protected by the ADA.

         64.     Defendant was aware of the filing of Erickson’s charge.

         65.     Since the filing of Erickson’s charge, Defendant took various adverse and retaliatory

   actions against Erickson.

         66.     A causal connection existed between the protected activity and the adverse action.

         67.     Defendant has retaliated against Erickson in violation of the ADA. 42 U.S.C.

   § 12203. As a result of Defendant’s unlawful retaliation, Plaintiff has suffered significant

   monetary loss, including loss of earnings and other benefits, and has suffered nonpecuniary

   losses, including, but not limited to, severe emotional pain and suffering.

         68.     Plaintiff has no plain, adequate or complete remedy at law for Defendant’s

   actions, which have caused, and continue to cause, Plaintiff irreparable harm.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for relief and judgment as follows:




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      1. Award all appropriate monetary relief, including back pay where applicable, to Plaintiff

             for any loss suffered as a result of the Defendant’s unlawful discrimination and/or

             retaliation;

      2. Enjoin the Defendant and its agents from continuing to violate Plaintiff’s rights under the

             ADA, and requiring that the Defendant make Plaintiff whole for his losses suffered as a

             result of its discrimination and/or retaliation;

      3. Award Plaintiff his reasonable attorneys’ fees and litigation expenses against Defendant

             pursuant to 42 U.S.C. §§ 12117(a) and 2000e-5(k); and

      4.     Provide any additional relief that this Court deems just.

                                               JURY DEMAND

             Plaintiff hereby demands a jury trial pursuant to Rule 38 of the Federal Rules of Civil

  Procedure and Section 102 of the Civil Rights Act of 1991, 42 U.S.C. § 1981a, on all issues so

  triable.



  Dated this 21st day of May, 2020.

                                                                Respectfully Submitted,

                                                                PHILLIPS, RICHARD & RIND, P.A.
                                                                9360 SW 72 Street, Suite 283
                                                                Miami, Florida 33173
                                                                T. (305) 412-8322
                                                                F. (305) 412-8299
                                                                Email: kphillips@phillipsrichard.com
                                                                Email: cgornail@phillipsrichard.com

                                                                By:   /s/ Kathleen M. Phillips
                                                                      Kathleen M. Phillips
                                                                      Florida Bar No. 287873
                                                                      Christina S. Gornail
                                                                      Florida Bar No. 085922




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EEOC Form 5 (11/09)


                      CHARGE OF DISCRIMINATION                                                            Charge Presented To:             Agency(ies) Charge No(s):
             This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                          FEPA
                    Statement and other information before completing this form.
                                                                                                              X EEOC
                                               FLORIDA COMMISSION ON HUMAN RELATIONS                                                                       and EEOC
                                                                          State or local Agency, if any
Name (indicate Mr., Ms., Mrs.)                                                                                    Home Phone (Incl. Area Code)           Date of Birth

Edward Erickson                                                                                                  (305) 412-8322                     01/17/1973
Street Address                                                                    City, State and ZIP Code
                                                                             nd
c/o Phillips, Richard & Rind, P.A., 9360 SW 72                                    Street, Suite 283, Miami, FL 33173
Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
Name                                                                                                              No. Employees, Members     Phone No. (Include Area Code)

Miami-Dade County/Miami-Dade Fire Rescue                                                                         2,600                           (786) 331-5000
Street Address                                                                    City, State and ZIP Code

           9300 NW 41st Street, Doral, FL 33178-2414
DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                      DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                Earliest              Latest
           RACE              COLOR                  SEX                RELIGION                NATIONAL ORIGIN             05/13/2019
         X     RETALIATION                 AGE         X    DISABILITY                    GENETIC INFORMATION

                        OTHER (Specify)                                                                                             X      CONTINUING ACTION

THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):


 On or about, August 6, 2019, I filed a charge of discrimination against Miami Dade County/Fire and Rescue
 Department based on disability. (See charge number 510-2019-05664 attached). Since the filing of that
 charge, I have been retaliated against for having sought to enforce my rights under the ADA and/or have
 continued to be discriminated against based on disability. The County and/Department have engaged in
 retaliatory conduct by and through its managers and supervisors by, among other things:

       •      Failure to process my request for reasonable accommodation;
       •      Failing to notify me that my request was being ignored;
       •      Sending my request for outside employment to the Ethics Commission, after having approved
              same for at least three (3) years prior to the filing of the above charge. Other nurses assigned in
              the same Division under the same Supervisor were not referred to the Commission;
       •      Refusing to allow me to continue to work my shift, in violation of contractual rights outlined in
              the Collective Bargaining Agreement;
       •      Refusing to allow me to continue to work my shift and placing me on “restricted duty” without
              any basis for same;
       •      Ordering the Occupational Health and Safety Nurse to complete Restricted Duty paperwork and
              asking me to waive my HIPPA rights;
       •      Threatening me with termination from employment;
       •      Intentional delays in processing grievance proceedings with the intention of inflicting financial
              burdens;
       •      Refusing to allow me to flex my work schedule to attend a Live Fire exercise that is required to
              maintain Airport Certifications. All other participant who attended the training were either
              allowed to attend on duty or compensated with overtime;
       •      Refusing to allow me the opportunity to maintain my Department Rescue Diver Certification
              which has further impacted my hourly rate, assignment preferences, and overtime opportunities;
       •      Denied me the opportunity to attend ultrasound training that was offered to all on-duty EMS
              Field Supervisors with similar assignments;

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